              Case 09-33776-btb        Doc 623     Entered 12/08/15 08:33:43        Page 1 of 2



 1
 2
 3
 4
        Entered on Docket
       December 08, 2015
 5 ___________________________________________________________________
 6
     OAPRVFNLCMPN
 7
     WILLIAM A. LEONARD, JR.
 8   6625 S. Valley View Blvd.
     Bldg. B, Suite 224
 9   Las Vegas, NV 89118
     (702) 262-9322
10   TRUSTEE
     JenniferBk@cox.net
11
12
                               UNITED STATES BANKRUPTCY COURT
13                                FOR THE DISTRICT OF NEVADA
14
15    In re                                               CASE NO. BK-S 09-33776 BTB
16    EXECUTIVE PLASTERING, INC.                          IN PROCEEDINGS UNDER CHAPTER 7
17                                                        Date: December 3, 2015
                                                          Time: 11:00 a.m.
18                                         Debtor(s).     Place: Foley Bldg., Third Floor
19
20        ORDER APPROVING TRUSTEE’S PAYMENT OF FINAL COMPENSATION
                      AND REIMBURSEMENT OF EXPENSES
21
              William A. Leonard, Trustee of the above-entitled estate, having filed herein his Final
22
     Report and Account of said estate on 10/16/15, and Notice of Hearing Trustee’s Application For
23
     Compensation and Reimbursement of Expenses having been noticed to all creditors and hearing
24
     having been held on December 3, 2015 at 11:00 a.m. and good cause appearing therefor,
25
     /////
26
     //////
27
     /////
28
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 1          It is hereby ordered that Trustee fees in the amount of $12,527.94 and expenses in the
 2   amount of $274.75 be approved.
 3   Submitted by:
 4   /s/ William A. Leonard
     WILLIAM A LEONARD, TRUSTEE
 5
 6
 7
 8   In accordance with LR 9021, the Trustee submitting this document certifies as follows (check
     one):
 9
            ____ The court has waived the requirement set forth in LR 9021 (b)(1).
10
              X No party appeared at the hearing or filed an objection to the motion.
11
            ____ I have delivered a copy of this proposed order to all counsel who appeared at the
12          hearing, and any unrepresented parties who appeared at the hearing, and each has
            approved or disapproved the order, or failed to response, as indicated below [list each
13          party and whether the party has approved, disapproved, or failed to respond to the
            documents]:
14
            ____ I certify that this is a case under Chapter 7 or 13, that I have served a copy of this
15          order with the motion pursuant to LR 9014 (g), and that no party has objected to the form
            or content of the order.
16
17
18                                                  ###
19   /s/ William A. Leonard
20   WILLIAM A LEONARD, TRUSTEE
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